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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :        Case No. 23-cr-00177 (ABJ)
               v.                             :
                                              :
SHANE LAMOND                                  :


                    Government’s Amended Response to the Court Order

       The parties have conferred and are not in agreement. Defendant claims that the “flyer” 1 is

contained within in Exhibit 4018 at pages 2 and 8. (D.E. 95). It is the Government’s position that

the    “flyer(s)”    are    not    in    evidence.           First,   the    actual       attachments

(“Arrests_in_burning_BLM_sign?”         and       “Action_on_church_signs_burning_destruction?”)

referenced on page 2 of Exhibit 4018 are not in evidence. Second, with respect to page 8 of Exhibit

4018, it is the Government’s position that it is not possible to identify the “flyer” because the

Defendant was not asked to identify the specific “flyer” or identify an item within Exhibit 4018 as

the “flyer”; nor was any other witness asked to do so.


                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney


                                              By:      _/s/ Joshua S. Rothstein
                                                       Joshua S. Rothstein
                                                       Assistant United States Attorney
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1
  Defendant described the flyer as “produced by the Metropolitan Police Department and
disseminated publicly on their website depicting a couple of photos that were taken of the banner
burning…” Trial Tr. 30:10-13 (12/6/2024).
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